Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 1 of 19




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No.:

  QUASAR MANAGEMENT SERVICES, LLC,

         Plaintiff,

  v.

  HARTFORD FIRE INSURANCE COMPANY,

        Defendant.
  ______________________________________________________________________________

                         COMPLAINT AND JURY DEMAND
  ______________________________________________________________________________

         COMES NOW QUASAR MANAGEMENT SERVICES, LLC, by and through its

  undersigned counsel, and hereby submit this its Complaint against Defendant, HARTFORD FIRE

  INSURANCE COMPANY, and in support of its Complaint, allege and aver as follows:

                                   NATURE OF THE ACTION

         1.      Plaintiff brings this action seeking economic and non-economic damages arising

  from Defendant’s bad faith conduct, unreasonable delay, and unreasonable denial in the payment

  of covered benefits due and owing under Plaintiff’s first-party insurance contract.

                                              PARTIES

         2.      Quasar Management Services, LLC (“Plaintiff” or “Quasar Management

  Services”) is a Colorado Limited Liability Company with its principal office in Denver, Colorado.

         3.      Quasar Management Services, LLC, has one member, William C. Kephart, who is

  a natural person domiciled in Colorado Springs, Colorado.




                                             Page 1 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 2 of 19




          4.     Defendant, Hartford Fire Insurance Company (“Defendant” or “Hartford”), is a

  foreign insurance company incorporated and domiciled in the state of Connecticut and maintains

  its principal place of business in a state other than in Colorado.

                                   JURISDICTION AND VENUE

          5.     This Court has jurisdiction and venue is proper pursuant to 28 U.S.C. §§ 1332(a)

  and 1441. There is complete diversity among the parties and the amount in controversy is in excess

  of seventy-five thousand dollars ($75,000.00), exclusive of interest and costs. The property which

  is the subject of the claim and the adjustment of the claim occurred in Colorado.

                               FACTS COMMON TO ALL COUNTS

          6.     Quasar Management Services is the owner of property that is located at 1775-1791

  South Murray Boulevard, Colorado Springs, Colorado 80915 (the “Property”).

          7.     At all times material hereto, the roofing system covering the Property was clad with

  a mechanically fastened reinforced EPDM single ply roofing system installed with 3.50”

  polyisocynurate over a corrugated metal deck.

          8.     Quasar Management Services purchased a Commercial Policy of insurance from

  Hartford under Policy Number 34UUNVT7760 (the “Policy”).

          9.     The Policy was issued with effective dates of January 1, 2016 through January 1,

  2017.

          10.    The Policy is an all risk policy of insurance.

          11.    The Policy is a replacement cost value policy and covers loss to the Property.

          12.    The Policy provides coverage for direct physical loss or damage to covered

  property at the premises caused by or resulting from any covered cause of loss.



                                              Page 2 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 3 of 19




          13.    The Policy does not require that the Property sustain functional damage for

  coverage to be afforded to direct physical loss or damage to covered property at the premises

  caused by or resulting from any covered cause of loss.

          14.    The Policy does not include a cosmetic exclusion.

          15.    Under the Policy, Hartford agreed to adjust all losses with Quasar Management

  Services fairly and timely.

          16.    Quasar Management Services paid the premiums due under the Policy in a timely

  manner, and performed all duties and responsibilities required of it under the Policy.

          17.    On or about July 28, 2016, during the Policy period, Quasar Management Services

  suffered direct physical loss and/or damage at the Property resulting from hail and/or wind.

          18.    The direct physical loss and/or damage resulting from the hail and/or wind

  constituted a covered loss under the Policy.

          19.    Quasar Management Services timely reported the covered loss to Hartford, and

  made a claim for the direct physical loss and damage to the Property.

          20.    Hartford assigned Claim Number CP0016981861 to the Property loss.

          21.    Hartford assigned its adjuster, Chris Joseph, to investigate and adjust Quasar

  Management Services’ claim for direct physical loss and/or damage to the Property resulting from

  the hail and/or wind storm occurring on or about July 28, 2016.

          22.    Hartford retained an engineer, John Oppenheim of Donan Engineering (“Donan”),

  to assist in the investigation of Quasar Management Services’ claim for direct physical loss and/or

  damage to the Property resulting from the hail and/or wind storm occurring on or about July 28,

  2016.




                                             Page 3 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 4 of 19




            23.   On or about September 13, 2017, Donan performed a site inspection of the

  Property.

            24.   On or about September 19, 2016, Donan issued a report related to its site inspection

  (“Donan First Report”).

            25.   Despite numerous requests by Quasar Management Services for Donan’s

  September 19, 2016, report, to date, Hartford has refused to provide a copy of the Donan’s first

  report.

            26.   On or about January 27, 2017, Donan performed a second site inspection of the

  Property.

            27.   On or about March 3, 2017, Donan issued a second report related to its site

  inspections of the Property (“Donan Second Report”). A copy of Donan’s Second Report is

  attached hereto as Exhibit “A.”

            28.   Donan’s Second Report indicated splits, slices, and gouges up to 0.25” wide in

  multiple locations on the EPDM roofing surface covering the Property.

            29.   Donan’s Second Report indicated tears in the substrate of the EPDM roofing system

  covering the Property.

            30.   On or about March 22, 2017, Hartford provided Quasar Management Services with

  its first damages estimate which outlined $51,212.27 in replacement cost value covered damages

  to the Property resulting from the hail and/or wind storm occurring on or about July 28, 2016. A

  copy of Hartford’s Damage Estimate is attached hereto as Exhibit “B.”

            31.   As a result of Hartford’s poor investigation, Quasar Management Services retained

  Pivot Adjusting (“Pivot”), a Colorado state licensed public adjusting firm, to assist in the




                                             Page 4 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 5 of 19




  adjustment of Quasar Management Services’ claim for direct physical loss and damage to the

  Property resulting from a hail and/or wind storm occurring on or about July 28, 2016.

         32.    On or about March 31, 2017, Donan performed a third site inspection of the roofing

  system covering the Property.

         33.    During its third site inspection of the roofing system covering the Property, Donan

  was supplied with detailed photographs of additional holes, punctures, splits, slices, and gouges

  observed in the EPDM roof covering and substrate at approximately eight to five separate

  locations.

         34.    On or about April 6, 2017, Donan performed a fourth site inspection of the roofing

  system covering the Property.

         35.    On or about April 20, 2017, Quasar Management Services representative, Pivot,

  provided Hartford with its first damage estimate which outlined $826,266.03 in replacement cost

  value covered damages. A copy of Quasar’s First Damage Estimate is attached hereto as Exhibit

  “C.”

         36.    On or about May 14, 2017, Donan issued a third report related to its site inspections

  of the EPDM roofing surface covering the Property (“Donan Third Report”). A copy of Donan’s

  Third Report is attached hereto as Exhibit “D.”

         37.    While Donan acknowledged numerous holes, punctures, splits, slices, and gouges

  to the EPDM roof covering. Donan’s Third Report concluded these damages were not related to

  hailstone impact.

         38.    Donan’s Third Report AGAIN acknowledged tears in the substrate of the EPDM

  roofing system covering the Property.




                                            Page 5 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 6 of 19




         39.     Donan’s Third Report applied a damage threshold, 1.50” inch or larger hailstones,

  that does not exist within the Policy.

         40.     Donan’s Third Report concluded that hailstones of less than 1.50” impacted the

  Property, and therefore did not exceed Donan’s arbitrary threshold for hailstone damage to the

  EPDM roofing system covering the Property.

         41.     Quasar Management Services retained Roof Leak Detection Company, Inc. (“Rook

  Leak Detection”), to evaluate hailstone damage to the roofing system covering the Property.

         42.     Roof Leak Detection performed a site inspection on or about May 16, 2017.

         43.     During its site inspection, Roof Leak Detection observed hailstone strikes in the

  displacement of the EPDM membrane, creating small divots and gouging.

         44.     During its site inspection, Roof Leak Detection performed three test square

  evaluations to obtain a representative sampling of hailstone impact damage on the installed roofing

  system covering the Property.

         45.     Roof Leak Detection concluded Test Square One indicated ten hailstone impact

  strikes with displacement of the rubber membrane of the roofing system covering the Property.

         46.     Roof Leak Detection concluded Test Square Two indicated eleven hailstone impact

  strikes with displacement of the rubber membrane of the roofing system covering the Property.

         47.     Roof Leak Detection concluded Test Square Three indicated twelve hailstone

  impact strikes with displacement of the rubber membrane of the roofing system covering the

  Property.

         48.     During its site inspection, Roof Leak Detection performed three test cut evaluations

  of the roofing system covering the Property.




                                             Page 6 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 7 of 19




         49.     Roof Leak Detection concluded Test Cut One indicated identifiable fractures of the

  polyisocynurate paper facer of the roofing system covering the Property.

         50.     Roof Leak Detection concluded Test Cut Two indicated identifiable fractures of the

  polyisocynurate paper facer and rupture of the roof membrane of the roofing system covering the

  Property.

         51.     Roof Leak Detection concluded Test Cut Three indicated identifiable fracture of

  the polyisocynurate paper facer of the roofing system covering the Property.

         52.     Roof Leak Detection concluded that damages were sustained to the roofing system

  covering Property as a direct physical result of a hailstorm event.

         53.     Roof Leak Detection concluded that the hailstorm damages resulted in the

  diminished useful service life of the flat EPDM roofing system covering the Property.

         54.     Roof Leak Detection concluded that proper remediation of the hailstorm damage to

  the roofing system of the Property cannot return the Property’s roofing system to its pre-loss

  condition.

         55.     Roof Leak Detection concluded that hailstorm damage to the Property’s roofing

  system requires complete replacement of all roofing materials.

         56.     On or about May 23, 2017, Quasar Management Services representative, Pivot,

  provided Hartford with a copy of the Roof Leak Detection Report. A copy of Roof Leak

  Detection’s Report is attached hereto as Exhibit “E.”

         57.     On or about May 23, 2017, Quasar Management Services representative, Pivot,

  provided Hartford with a hail report indicating hailstones of 1.60” onsite and 1.80” within one mile

  of the Property during the hail and wind storm occurring on July 28, 2016.




                                             Page 7 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 8 of 19




         58.     On or about May 23, 2017, Quasar Management Services representative, Pivot,

  requested that Hartford take into consideration objective evidence of hailstone damage to the

  Property resulting from the hail and wind storm occurring on or about July 28, 2016.

         59.     On or about May 23, 2017, Quasar Management Services representative, Pivot,

  requested that Hartford reevaluate Quasar Management Services claim for direct physical loss and

  damage resulting from the hail and wind storm occurring on or about July 28, 2016.

         60.     On or about May 26, 2017, Quasar Management Services representative, Pivot,

  requested Hartford provide an update as to its reevaluation based on additional information

  provided on May 23, 2017.

         61.     On or about June 19, 2017, Quasar Management Services representative, Pivot, for

  a second time, requested Hartford provide an update as to its reevaluation based on additional

  information provided on May 23, 2017.

         62.     On or about June 21, 2017, Hartford advised Quasar Management Services that it

  was relying upon Donan’s conclusions that the roofing system covering the Property was not

  damaged by hail.

         63.     On or about July 19, 2017, Quasar Management Services representative, Pivot,

  provided Hartford with its revised damage estimate which outlined $905,830.98 in replacement

  cost value covered damages. A copy of Quasar’s Revised Damage Estimate is attached hereto as

  Exhibit “F.”

         64.     On or about July 26, 2017, Quasar Management Services provided formal notice of

  demand for appraisal as provided for under the terms and conditions of the Policy.

         65.     Quasar Management Services identified its appraiser as Brian Hayden.

         66.     Hartford identified its appraiser as Bret Barnett.



                                             Page 8 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 9 of 19




         67.     Kevin Aguilar was agreed to as the umpire of the appraisal of Quasar Management

  Services’ claim for direct physical loss and damage resulting from a hail and wind storm occurring

  on or about July 28, 2016.

         68.     On or about November 8, 2017, the umpire delivered an appraisal award in the

  amount of $1,213,657.37. A copy of the Appraisal Award has been attached hereto as Exhibit

  “G.”

         69.     The appraisal award was signed by the following three individuals:

                       Hartford’s Appraiser – Bret Barnett
                       Quasar Management Services Appraiser – Brian Haden
                       Umpire – Kevin Aguilar

         70.     The umpire’s appraisal award is approximately $1,162,445.10 higher than

  Hartford’s ONLY estimate of direct physical loss and damage to the Property in the amount of

  $51,212.27.

         71.     The umpire’s appraisal award is over twenty-three times higher than Hartford’s

  ONLY estimate of direct physical loss and damage to the Property in the amount of $51,212.27.

         72.     Hartford’s failure to include the damages outlined in the umpire’s appraisal award

  resulted in the delay and denial of payment of $1,162,445.10 in covered benefits without a

  reasonable basis.

         73.     On or about December 5, 2017, Hartford issued an actual cash value payment in

  accordance with the appraisal award, less prior payments, in the amount of $426,743.86.

         74.     The amount of the appraisal award clearly demonstrated that Hartford failed to

  properly investigate the full extent of Quasar Management Services’ claim for damages.

         75.     The amount of the appraisal award clearly demonstrated that Hartford failed to

  properly evaluate the full extent of Quasar Management Services’ claim for damages.


                                            Page 9 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 10 of 19




          76.     Hartford’s delay in payment was clearly contrary to insurance industry claims

  handling standards, and it resulted in Quasar Management Services being deprived of the timely

  payment of its Policy benefits

          77.     Quasar Management Services has fulfilled all duties required of it under the Policy

  after discovery of the loss.

          78.     Quasar Management Services has performed all conditions precedent and

  subsequent required under the insurance Policy, or alternatively, have been excused from

  performance by the acts, representations, and/or conduct of Hartford.

                                   FIRST CLAIM FOR RELIEF
                              (Bad Faith Breach of Insurance Contract)

          79.     Quasar Management Services realleges and reaffirms Paragraphs 1-78 as if fully

  set forth herein.

          80.     Under the Policy and Colorado law, Hartford owes Quasar Management Services

  the duty of good faith and fair dealing.

          81.     An insurer breaches its duty of good faith and fair dealing when it engages in unfair

  claim settlement practices.

          82.     Hartford sold Quasar Management Services the Policy at issue, the intent of which

  was to provide coverage for loss or damage to covered property at the premises caused by or

  resulting from any covered cause of loss.

          83.     Hartford knew that Quasar Management Services purchased the Policy to protect

  its Property in the event of a loss.

          84.     Hartford owed Quasar Management Services the non-delegable duty to investigate

  its claim objectively and not look for ways to deny benefits or attempt to not pay the full amount

  owed.

                                              Page 10 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 11 of 19




         85.      Hartford owed Quasar Management Services the duty to give equal consideration

  to the financial interests of Quasar Management Services, and not give greater consideration to its

  own financial interests while investigation and adjusting Quasar Management Services’ claim.

         86.      Hartford improperly disregarded the validity of Quasar Management Services’

  claim for direct physical loss and damage resulting from the hail and/or wind storm occurring on

  or about July 28, 2016.

         87.      Hartford failed to interpret its insurance policy reasonably.

         88.      Hartford improperly applied a damage threshold, during its investigation, which

  does not exist within the Policy.

         89.      Hartford failed to resolve doubts concerning insurance coverage in favor of the

  policyholder.

         90.      Hartford failed to treat Quasar Management Services’ interests with equal regard

  to its own.

         91.      Hartford mischaracterized the facts and coverage to the benefit of itself.

         92.      Hartford failed to conduct a full, fair, and prompt investigation of Quasar

  Management Services’ claim direct physical loss and damage resulting from the hail and/or wind

  storm occurring on or about July 28, 2016.

         93.      Hartford failed to objectively evaluate Quasar Management Services’ claim based

  on all available evidence, and not just evidence which Hartford believed supported its position.

         94.      Hartford failed to evaluate the reports received from its consultants to determine

  whether the consultant had conducted the necessary investigation of the claim.

         95.      Hartford failed to evaluate the reports received from its consultants to determine

  whether the consultant had properly applied the terms and conditions of the Policy.



                                             Page 11 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 12 of 19




          96.    Hartford improperly denied Quasar Management Services’ claim by failing to

  examine and question its retained consultant’s reports to assure that they contained all opinions

  necessary to properly evaluate the claim.

          97.    Hartford improperly denied Quasar Management Services’ claim by failing to

  examine and question its retained consultant’s reports to assure that they were based on all relevant

  and available evidence.

          98.    Hartford improperly ignored objective evidence of direct physical loss and damage

  resulting from the hail and/or wind storm occurring on or about July 28, 2016.

          99.    Hartford ignored test cut analysis demonstrating objective hailstone damage to the

  roofing system covering the Property.

          100.   Hartford improperly ignored test square analysis demonstrating objective hailstone

  damage to the roofing system covering the Property.

          101.   Hartford improperly ignored weather data demonstrating hailstone impact of 1.60”

  onsite during the hail and wind storm occurring on or about July 28, 2016.

          102.   Hartford improperly ignored weather data demonstrating hailstone impact of 1.80”

  within one mile of the Property during the hail and wind storm occurring on or about July 28,

  2016.

          103.   Hartford knew that its decision to underpay benefits owed to Quasar Management

  Services was intentional and not accidental.

          104.   Hartford representatives, including Chris Joseph, received income-based

  compensation to quickly close Quasar Management Services’ claim for loss or damage to covered

  property at the Property caused by or resulting from any covered cause of loss.




                                              Page 12 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 13 of 19




             105.   Hartford representatives, including Chris Joseph, received income-based

  compensation to reduce claims payments made to Quasar Management Services on its claim for

  loss or damage to covered property at the Property caused by or resulting from any covered cause

  of loss.

             106.   Hartford improperly set claims handling goals to reduce the amount paid on claims,

  including Quasar Management Services’ claim for loss or damage to covered property at the

  Property caused by or resulting from any covered cause of loss.

             107.   Hartford improperly delayed Quasar Management Services’ claim to reduce overall

  claims payments.

             108.   Hartford improperly delayed Quasar Management Services’ claim to increase

  profits.

             109.   Hartford improperly delayed Quasar Management Services’ claim to maintain its

  loss ratio.

             110.   Hartford improperly delayed Quasar Management Services’ claim to meet

  department goals.

             111.   Hartford improperly delayed Quasar Management Services’ claim by providing

  financial incentives to its personnel, including Chris Joseph, to influence claims handling.

             112.   Hartford improperly delayed Quasar Management Services’ claim to reduce the

  average amount paid on overall claims.

             113.   Hartford’s conduct in the handling of Quasar Management Services’ claim

  demonstrates that Hartford was focused on benefiting itself to the detriment of Quasar

  Management Services.

             114.   Hartford has committed unfair settlement practices, including, but not limited to:



                                               Page 13 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 14 of 19




                  (a)       Hartford has failed to acknowledge and act reasonably promptly upon
                            communication with respect to claims arising under insurance policies;
                  (b)       Hartford has failed to adopt and implement reasonable standards for the
                            prompt investigation of claims arising under insurance policies;
                  (c)       Hartford refused to pay claims without conducting a reasonable
                            investigation based upon all available information;
                  (d)       Hartford has failed to attempt in good faith to effectuate prompt, fair, and
                            equitable settlements of claims in which liability has become reasonably
                            clear;
                  (e)       Hartford has failed to promptly settle claims, where liability has become
                            reasonably clear, under one portion of the insurance policy coverage in
                            order to influence settlements under other portions of the insurance policy
                            coverage;
                  (f)       Hartford has misrepresented terms and conditions of the Policy in an
                            attempt to influence its Insured to settlement for less than all benefits
                            reasonably afforded under the Policy for the subject loss and damage; and
                  (g)       Hartford encourages its claims representatives to engage in unfair claims
                            settlement practices against its Insured, thereby violating applicable laws
                            and regulations of the State of Colorado.

          115.    Hartford has committed such actions willfully and with such frequency as to

 indicate a general business practice.

          116.    As a direct and proximate result of Hartford action, Quasar Management Services
 has:

                  (a)       Incurred increased costs to repair, restore and/or replace the significant
                            property damage that was caused by loss or damaged resulting from the July
                            28, 2016, hail and/or wind storm;
                  (b)       Suffered damages as a proximate result of the misconduct alleged; and
                  (c)       Suffered and will continue to suffer other expenses, including loss of pre-
                            judgment interest, attorneys’ fees, investigatory fees, and other losses.

          WHEREFORE, Plaintiff, Quasar Management Services, LLC, respectfully requests this
  Court enter judgment against Defendant, Hartford Fire Insurance Company, for damages resulting
  from its breach of its duty of good faith and fair dealing, costs, pre-judgment interest, attorneys’
  fees pursuant to applicable law, and such other relief as the Court deems appropriate.

                               SECOND CLAIM FOR RELIEF
                 (Unreasonable Delay and Denial of Payment of Covered Benefits
                        Pursuant to C.R.S. §§ 10-3-1115 and 10-3-1116)

          117.    Quasar Management Services re-alleges and reaffirms Paragraphs 1-114 as though

  fully set forth herein.

                                               Page 14 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 15 of 19




            118.   Under Colorado Revised Statute § 10-3-1115, an insurer who delays or denies

  payment to an insured without a reasonable basis for its delay or denial is in breach of the duty of

  good faith and fair dealing.

            119.   Under Colorado Revised Statute § 10-3-1115, an insurer’s delay or denial is

  unreasonable if the insurer delayed or denied authorizing payment of a covered benefit without a

  reasonable basis for that action.

            120.   Quasar Management Services is a first-party claimant within the meaning of

  Colorado Revised Statute § 10-3-1115(1)(b)(1).

            121.   Quasar Management Services suffered a loss covered by the Policy and submitted

  a claim for that loss to Hartford.

            122.   The claimed loss and damage submitted by Quasar Management Services was

  covered by the Policy and Quasar Management Services was owed covered benefits under the

  Policy.

            123.   Hartford delayed payment of covered benefits without a reasonable basis for its

  actions.

            124.   Hartford denied payment of covered benefits without a reasonable basis for its

  actions.

            125.   Hartford has unreasonably delayed covered benefits without a reasonable basis for

  doing so as alleged in the preceding paragraphs of Quasar Management Services’ Complaint.

            126.   Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by failing to properly investigate its insured’s loss.




                                               Page 15 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 16 of 19




         127.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by providing a damage estimate without having documented a reasonable

  investigation based upon all information.

         128.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by providing a damage estimate which did not include all covered damages.

         129.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by delaying the disclosure of reports relied upon to deny Quasar Management

  Services’ claim for damages.

         130.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by applied a damage threshold which does not exist within the Policy.

         131.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by ignoring objective evidence of direct physical loss and damage to the

  Property.

         132.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by forcing Quasar Management Services to retain its own professionals to help

  properly adjust the covered loss.

         133.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by ignoring test cut analysis demonstrating objective hailstone damage to the

  roofing system covering the Property.

         134.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by ignoring test square analysis demonstrating objective hailstone damage to

  the roofing system covering the Property.




                                              Page 16 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 17 of 19




          135.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by ignoring reports provided by Roof Leak Detection evidencing objective

  covered damage to the Property.

          136.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by ignoring weather data demonstrating hailstone impact of 1.60” onsite during

  the hail and wind storm occurring on or about July 28, 2016.

          137.    Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action by ignoring weather data demonstrating hailstone impact of 1.80” within one

  mile of the Property during the hail and wind storm occurring on or about July 28, 2016.

          138.    Despite receipt of Quasar Management Services’ comprehensive estimate, Hartford

  delayed and denied payment of covered benefits without a reasonable basis for doing so.

          139.    Hartford unreasonably delayed and denied Quasar Management Services’ claim to

  reduce overall claims payments.

          140.    Hartford unreasonably delayed and denied Quasar Management Services’ claim to

  increase profits.

          141.    Hartford unreasonably delayed and denied Quasar Management Services’ claim to

  maintain its loss ratio.

          142.    Hartford unreasonably delayed and denied Quasar Management Services’ claim to

  meet department goals.

          143.    Hartford unreasonably delayed and denied Quasar Management Services’ claim by

  providing financial incentives to its personnel, including Chris Joseph, to determine claims

  handling.




                                            Page 17 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 18 of 19




         144.      Hartford unreasonably delayed and denied Quasar Management Services’ claim by

  motivating its claims department to pay less on claims, such as Quasar Management Services’

  claim for damages, than what is otherwise owed.

         145.      Hartford unreasonably delayed and denied Quasar Management Services’ claim to

  reduce the average amount paid on overall claims.

         146.      Hartford unreasonably delayed and denied Quasar Management Services’ claim by

  asserting coverage positions that it knew were without merit.

         147.      Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action as evidenced by an appraisal award approximately $1,162,445.10 higher than

  Hartford’s ONLY estimate of direct physical loss and damage to the Property in the amount of

  $51,212.27.

         148.      Hartford delayed and denied payment of covered benefits without a reasonable

  basis for its action as evidenced by an appraisal award approximately twenty-three times higher

  than Hartford’s ONLY estimate of direct physical loss and damage to the Property in the amount

  of $51,212.27.

         149.      The actions of Hartford were intended to dissuade Quasar Management Services in

  pursuing benefits due and owing under the terms of the Policy.

         150.      Based upon the foregoing Paragraphs is therefore entitled to two times the covered

  benefit, attorneys’ fees, and costs pursuant to C.R.S. § 10-3-1116, together with pre-judgment

  interest at the highest rate allowed by law.

         WHEREFORE, Plaintiff, Quasar Management Services, LLC, respectfully requests this
  Court enter judgment against Defendant, Hartford Fire Insurance Company, for damages
  authorized pursuant to Colorado Revised Statute § 10-3-1116, costs, pre-judgment interest,
  attorneys’ fees pursuant to applicable law, and other such relief as the Court deems appropriate.

                                   REQUEST FOR JURY TRIAL

                                             Page 18 of 19
   
Case 1:18-cv-01831-RM-KLM Document 1 Filed 07/18/18 USDC Colorado Page 19 of 19




          151.    Quasar Management Services requests trial by jury with respect to all claims and

  issues triable to a jury.

          Respectfully submitted this 18th day of July, 2018


                                               /s/ Jonathan E. Bukowski
                                               Larry E. Bache, Jr., Esq.
                                               Colorado Bar No.: 51958
                                               Jonathan E. Bukowski, Esq.
                                               Colorado Bar No.: 45614
                                               Timothy G. Burchard, II
                                               Colorado Bar No.: 48635
                                               Merlin Law Group, PA
                                               1001 17th Street, Ste. 1150
                                               Denver, CO 80202
                                               Telephone: 720-665-9680
                                               Facsimile: 720-665-9681
                                               E-Mail: lbache@merlinlawgroup.com
                                               E-Mail: jbukowski@merlinlawgroup.com
                                               E-Mail: tburchard@merlinlawgroup.com




                                            Page 19 of 19
   
